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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

                                     §
FACTOR 2 MULTIMEDIA SYSTEMS, LLC, §
                                     §                        C.A. No. 6:24-cv-00362-XR
           Plaintiff,
                                     §
                                     §                       JURY TRIAL DEMANDED
      v.
                                     §
                                     §
EARLY WARNING SERVICES, LLC; BANK
                                     §
OF AMERICA CORPORATION; TRUIST
                                     §
FINANCIAL CORPORATION; CAPITAL
                                     §
ONE FINANCIAL CORPORATION;
                                     §
JPMORGAN CHASE & CO.; THE PNC
                                     §
FINANCIAL SERVICES GROUP, INC.; U.S.
                                     §
BANCORP; AND WELLS FARGO &
                                     §
COMPANY,
                                     §
           Defendants.               §
                                     §


                        NOTICE OF APPEARANCE OF COUNSEL

       The undersigned attorney, Matthew A. Blair, hereby enters an Appearance as counsel of

record on behalf of Defendant Wells Fargo & Company in this case and is authorized to receive

service of all pleadings, notices, orders, and other papers in the above-captioned matter on behalf

of Defendant.


Dated: September 6, 2024                                    Respectfully submitted,

                                                            /s/ Matthew Blair
                                                            Matthew Blair
                                                            TX Bar No. 24109648
                                                            K&L Gates LLP
                                                            2801 Via Fortuna, Suite 650
                                                            Austin, TX 78746
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                                                            matthew.blair@klgates.com

                                                            Attorney for Defendant
                                                            Wells Fargo & Company


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 6, 2024, all counsel of record who have

consented to electronic service have been served with a copy of the foregoing via the Court’s

CM/ECF system.


                                                           /s/ Matthew Blair
                                                           Matthew Blair




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